              Case 23-22019-CMB                   Doc 1      Filed 09/22/23 Entered 09/22/23 16:34:36                              Desc Main
                                                            Document      Page 1 of 35

Fill in this information to identify your case:


United States Bankruptcy Court for the:

WESTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Pinnacle Health Services, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Butler Rehabilitation and Sleep Disorder Centers
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  520 Pearl Avenue
                                  1610 North Main Street Ext.                                     PO Box 635
                                  Butler, PA 16001                                                Mars, PA 16046
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Butler                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1610 North Main Street Ext. Butler, PA 16001
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-22019-CMB                      Doc 1        Filed 09/22/23 Entered 09/22/23 16:34:36                                     Desc Main
                                                                 Document      Page 2 of 35
Debtor    Pinnacle Health Services, LLC                                                                 Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6213

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
             Case 23-22019-CMB                    Doc 1       Filed 09/22/23 Entered 09/22/23 16:34:36                                  Desc Main
                                                             Document      Page 3 of 35
Debtor   Pinnacle Health Services, LLC                                                             Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case 23-22019-CMB                   Doc 1       Filed 09/22/23 Entered 09/22/23 16:34:36                                 Desc Main
                                                            Document      Page 4 of 35
Debtor   Pinnacle Health Services, LLC                                                             Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       September 22, 2023
                                                  MM / DD / YYYY


                             X /s/       Zachary Rabold                                                    Zachary Rabold
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Managing Member




18. Signature of attorney    X /s/ Renee Kuruce                                                            Date    September 22, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Renee Kuruce 314691
                                 Printed name

                                 Robleto Kuruce PLLC
                                 Firm name

                                 6101 Penn Avenue Suite 201
                                 Pittsburgh, PA 15206
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (412) 925-8194                Email address      rmk@robletolaw.com

                                 314691 PA
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                  Desc Main
                                                                     Document      Page 5 of 35




 Fill in this information to identify the case:

 Debtor name         Pinnacle Health Services, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           September 22, 2023                     X /s/ Zachary Rabold
                                                                       Signature of individual signing on behalf of debtor

                                                                        Zachary Rabold
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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            Case 23-22019-CMB                                     Doc 1             Filed 09/22/23 Entered 09/22/23 16:34:36                                                           Desc Main
                                                                                   Document      Page 6 of 35
 Fill in this information to identify the case:

 Debtor name            Pinnacle Health Services, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            60,250.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            60,250.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           501,133.85


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             501,133.85




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                         Desc Main
                                                                     Document      Page 7 of 35
 Fill in this information to identify the case:

 Debtor name         Pinnacle Health Services, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Huntington Bank                                         Checking/Operating                                                               $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                      $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36               Desc Main
                                                                     Document      Page 8 of 35
 Debtor         Pinnacle Health Services, LLC                                                 Case number (If known)
                Name

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last         Net book value of      Valuation method used   Current value of
                                                     physical inventory       debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Office Supplies
           Desk Supplies
           Writing Supplies
           Paper
           Labels/Supplies
           Envelopes/Boxes
           Notebooks
           Office Storage
           Stationary and Mailing
           Hanging Supplies                                                                 $0.00    Liquidation                         $1,500.00



 23.       Total of Part 5.
                                                                                                                                     $1,500.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36               Desc Main
                                                                     Document      Page 9 of 35
 Debtor         Pinnacle Health Services, LLC                                                 Case number (If known)
                Name

           Office Decor
           Paintings
           Wall Decor
           Decorations                                                                      $0.00    Liquidation                           $450.00


           Desktop computers X10
           Office Chairs X15
           Large metal file cabinets x10
           Wooden Shelving X5
           Round office conference table and chairs x3
           Waiting Room chairs X15
           Office desks X8                                                                  $0.00    Liquidation                         $8,400.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Laptops X2
           TV X6
           Desktop Computers X8
           Wireless Routers X3
           Printers X2                                                                      $0.00    Liquidation                         $2,200.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $11,050.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36        Desc Main
                                                                     Document     Page 10 of 35
 Debtor         Pinnacle Health Services, LLC                                                Case number (If known)
                Name

            Therapy Machinery.
             NuStep Machine x6
            Treadmills X6
            Stationary Bikes X6
            Upper Body Ergometers X6
            Arc Trainer X1
            Recumbent Bike X2
            Stationary Bike X7
            Bodycraft Multigym machine                                                      $0.00    Liquidation             $28,500.00


            Therapy Equipment
            Therapy Stairs X2
            Therapy Tables X7
            Dumbbell Tree X3
            Dumbbells X3
            Ankle Weights X5
            Ultrasound Machine X2
            Misc. Medical Equipment and Therapy
            Equipment
            Hudroculators X2
            Chest Percussion Therapy Vests X2
            Liquid Oxygen Tanks X20
            Oxygen E-Tanks
            Towels/Pillows                                                                  $0.00    Liquidation             $19,200.00



 51.        Total of Part 8.
                                                                                                                          $47,700.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                      page 4
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            Case 23-22019-CMB                              Doc 1         Filed 09/22/23 Entered 09/22/23 16:34:36                                          Desc Main
                                                                        Document     Page 11 of 35
 Debtor          Pinnacle Health Services, LLC                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                    $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                $1,500.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $11,050.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $47,700.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                             $60,250.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $60,250.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 5
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                   Desc Main
                                                                     Document     Page 12 of 35
 Fill in this information to identify the case:

 Debtor name         Pinnacle Health Services, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                                     Desc Main
                                                                     Document     Page 13 of 35
 Fill in this information to identify the case:

 Debtor name         Pinnacle Health Services, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $13,200.00
           A& D Holding
                                                                                Contingent
           2661 Clearview Rd                                                    Unliquidated
           Allison Park, PA 15101                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim: Lease
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,234.00
           Airgas
           325 Hammond Drive
                                                                                Contingent
           Suite #114                                                           Unliquidated
           Atlanta, GA 30328                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           AK Freeport Road Partners
                                                                                Contingent
           2585 Freeport Road                                                   Unliquidated
           Pittsburgh, PA 15238                                                 Disputed
           Date(s) debt was incurred 2013                                    Basis for the claim: Expired Commercial Lease
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $300.00
           Allegheny Health Network Home Medical
                                                                                Contingent
           PO Box 192                                                           Unliquidated
           Ford City, PA 16226                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number 0339                              Is the claim subject to offset?      No         Yes


 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Amy Rice-Kennedy
                                                                                Contingent
           123 David Drive                                                      Unliquidated
           Butler, PA 16001                                                     Disputed
           Date(s) debt was incurred 2023                                    Basis for the claim: Benefit payment/Employee
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 5
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                                     Desc Main
                                                                     Document     Page 14 of 35
 Debtor       Pinnacle Health Services, LLC                                                           Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $397.00
          Armstrong Cable
                                                                                Contingent
          PO Box 37749                                                          Unliquidated
              37749                                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 9802                               Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $93,000.00
          Bravis Enterprises
          c/o Bruce Davis
                                                                                Contingent
          113 Windover Court                                                    Unliquidated
          Canonsburg, PA 15317                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,844.00
          Business Backer
                                                                                Contingent
          10856 Reed Hartman Hwy, Suite 100                                     Unliquidated
          Cincinnati, OH 45242                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 3125                               Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,315.00
          Capital One
                                                                                Contingent
          P.O. Box 30285                                                        Unliquidated
          Salt Lake City, UT 84130                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 1754                               Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $831.00
          Comcast
                                                                                Contingent
          PO BOX 3001                                                           Unliquidated
          Southeastern, PA 19398                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 9129                               Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $342.00
          Duquesne Light
                                                                                Contingent
          411 7th Avenue                                                        Unliquidated
          Pittsburgh, PA 15219                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Utility
          Last 4 digits of account number 2494                               Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,832.00
          Fundbox
          300 Montgomery Street
                                                                                Contingent
          Suite #900                                                            Unliquidated
          San Francisco, CA 94104                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 5
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                                     Desc Main
                                                                     Document     Page 15 of 35
 Debtor       Pinnacle Health Services, LLC                                                           Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,430.00
          IMA Financial Group
          Attn: Charles Echnoz
          316 First Ave.
                                                                                Contingent
          PO Box 955                                                            Unliquidated
          Kittanning, PA 16201                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Lease
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jill McDeavitt
                                                                                Contingent
          255 Thompsontown Rd                                                   Unliquidated
          West Sunbury, PA 16061                                                Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Benefit payment/Employee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Joe Sacripanti
                                                                                Contingent
          28 Par Three Drive                                                    Unliquidated
          Follansbee, WV 26037                                                  Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Benefit payment/Employee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Leo Volek Jr.
                                                                                Contingent
          1203 6th Ave                                                          Unliquidated
          Ford City, PA 16226                                                   Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Benefit        payment/Employee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Linde (f/k/a Praxiar)
                                                                                Contingent
          7000 High Grove Blvd.                                                 Unliquidated
          Willowbrook, IL 60527                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number 8271                               Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Lisa Panei-Werhane
                                                                                Contingent
          423 Sunset Drive                                                      Unliquidated
          Butler, PA 16001                                                      Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Benefit payment/Employee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $100.00
          Lou Negley?s Bottled Water Co.
                                                                                Contingent
          106 Cork's Lane                                                       Unliquidated
          Butler, PA 16001                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,835.00
          McKnight Northland, LLC
                                                                                Contingent
          310 Grant Street, Suite 2500                                          Unliquidated
          Pittsburgh, PA 15219                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Lease
          Last 4 digits of account number 0239                               Is the claim subject to offset?      No         Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 5
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                                     Desc Main
                                                                     Document     Page 16 of 35
 Debtor       Pinnacle Health Services, LLC                                                           Case number (if known)
              Name

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Melissa Bulfone
                                                                                Contingent
          112 North Breezewood Drive                                            Unliquidated
          Butler , PA                                                           Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Benefit Payment/Employee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $47.00
          People's Gas
                                                                                Contingent
          PO Box 644760                                                         Unliquidated
          Pittsburgh, PA 15264                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Utility
          Last 4 digits of account number 2693                               Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $200.00
          Peoples TWP LLC
                                                                                Contingent
          PO Box 37745                                                          Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $123.00
          Rackspace U.S. Inc
                                                                                Contingent
          PO Box 730759                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Sheila Priester
                                                                                Contingent
          923 Winfield Rd.                                                      Unliquidated
          Cabot, PA 16023                                                       Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Benefit Payment/Employee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Susan McCrea
                                                                                Contingent
          2 Valley Vista Lane                                                   Unliquidated
          Butler, PA 16001                                                      Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Benefit Payment/Employee
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,870.22
          Swift Financial, LLC
          3505 Silverside Road
                                                                                Contingent
                                                                                Unliquidated
          Wilmington, DE 19810                                                  Disputed
          Date(s) debt was incurred 12/2022                                  Basis for the claim: LoanBuilder (PayPal Service)
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $239,505.63
          The Huntington National Bank
          525 Water Street
          3rd Floor
                                                                                Contingent
                                                                                Unliquidated
          Saint Clair Shores, MI 48080                                          Disputed
          Date(s) debt was incurred 2013                                     Basis for the claim: SBA Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 5
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             Case 23-22019-CMB                         Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                                     Desc Main
                                                                     Document     Page 17 of 35
 Debtor        Pinnacle Health Services, LLC                                                          Case number (if known)
               Name

 3.29       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $198.00
            Tri-State Voice and Data
                                                                                Contingent
            532 Home Run Rd                                                     Unliquidated
            Amity, PA 15311                                                     Disputed
            Date(s) debt was incurred                                        Basis for the claim: Trade debt
            Last 4 digits of account number                                  Is the claim subject to offset?         No       Yes


 3.30       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $280.00
            Waste Management
                                                                                Contingent
            625 CHERRINGTON PKWY                                                Unliquidated
            Coraopolis, PA 15108                                                Disputed
            Date(s) debt was incurred                                        Basis for the claim: Trade debt
            Last 4 digits of account number 7945                             Is the claim subject to offset?         No       Yes


 3.31       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $250.00
            Waystar, Inc.
                                                                                Contingent
            1311 Solutions Center                                               Unliquidated
            Chicago, IL 60677                                                   Disputed
            Date(s) debt was incurred                                        Basis for the claim: Trade debt
            Last 4 digits of account number                                  Is the claim subject to offset?         No       Yes


 3.32       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $1,000.00
            West Penn Power
                                                                                Contingent
            PO BOX 3615                                                         Unliquidated
            Akron, OH 44309                                                     Disputed
            Date(s) debt was incurred                                        Basis for the claim: Trade debt
            Last 4 digits of account number                                  Is the claim subject to offset?         No       Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1        Metz Lewis Brodman Must O'Keefe
            Attn: John O'Keefe                                                                        Line     3.28
            535 Smithfield Street
                                                                                                             Not listed. Explain
            Suite 800
            Pittsburgh, PA 15222

 4.2        The Blackwell Law Firm
            Dennis Blackwell                                                                          Line     3.3
            223 Fourth Avenue
                                                                                                             Not listed. Explain

            Pittsburgh, PA 15222


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                     501,133.85

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.          $                        501,133.85




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                     Desc Main
                                                                     Document     Page 18 of 35
 Fill in this information to identify the case:

 Debtor name         Pinnacle Health Services, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Commercial Lease,
             lease is for and the nature of               month to month
             the debtor's interest

                 State the term remaining                 0
                                                                                     A& D Holdings
             List the contract number of any                                         2661 Clearview Road
                   government contract                                               Allison Park, PA 15101


 2.2.        State what the contract or                   Commercial
             lease is for and the nature of               Lease/month to month
             the debtor's interest

                 State the term remaining                 0                          Charles Echnoz
                                                                                     316 First Ave.
             List the contract number of any                                         PO Box 955316
                   government contract                                               Kittanning, PA 16201


 2.3.        State what the contract or                   Commercial Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Terminated                 McKnight Northland, LLC
                                                                                     310 Grant Street
             List the contract number of any                                         Suite 2500
                   government contract                                               Pittsburgh, PA 15219




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                 Desc Main
                                                                     Document     Page 19 of 35
 Fill in this information to identify the case:

 Debtor name         Pinnacle Health Services, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
     2.4     Jessica Rabold                    520 Pearl Avenue                                   The Huntington                    D
                                               Mars, PA 16046                                     National Bank                     E/F       3.28
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                             Desc Main
                                                                     Document     Page 20 of 35



 Fill in this information to identify the case:

 Debtor name         Pinnacle Health Services, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $277,366.00
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $502,032.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                                Desc Main
                                                                     Document     Page 21 of 35
 Debtor       Pinnacle Health Services, LLC                                                             Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    AK Freeport Road Partners,                       Contract                   Allegheny County Court of                      Pending
               L. P. v. Pinnacle Health                                                    Common Pleas                                   On appeal
               Services, and Zachary Rabold                                                Pittsburgh, PA 15222                           Concluded
               and Jessica Noonan
               GD-23-7003

       7.2.    McKnight Northland, LLC v.                       Confession of              Allegheny County Court of                      Pending
               Pinnacle Health Services,                        Judgment                   Common Pleas                                   On appeal
               LLC d/b/a Butler                                                            Pittsburgh, PA 15222                           Concluded
               Rehabilitation Centers
               GD-23-8284

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                             Desc Main
                                                                     Document     Page 22 of 35
 Debtor        Pinnacle Health Services, LLC                                                               Case number (if known)



                Recipient's name and address                    Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                               lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Robleto Kuruce PLLC
                 6101 Penn Avenue Suite 201
                 Pittsburgh, PA 15206                                Attorney Fee                                                                    $3,500.00

                 Email or website address
                 rmk@robletolaw.com

                 Who made the payment, if not debtor?
                 Zachary Rabold



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                     Date transfer       Total amount or
                Address                                         payments received or debts paid in exchange                was made                     value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3

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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                            Desc Main
                                                                     Document     Page 23 of 35
 Debtor        Pinnacle Health Services, LLC                                                            Case number (if known)



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     1801 Lincoln Way
                 McKeesport, PA 15131

       14.2.     316 1st Ave
                 Kittanning, PA 16201

       14.3.     4725 McKnight Road
                 Pittsburgh, PA 15237

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services           If debtor provides
                                                                the debtor provides                                                    meals and housing,
                                                                                                                                       number of patients in
                                                                                                                                       debtor’s care
       15.1.     Butler Rehabilitation and                      Outpatient ambulatory care
                 Sleep Disorder Centers
                 1610 North Main Street
                                                                Location where patient records are maintained (if different from       How are records kept?
                 Extension
                                                                facility address). If electronic, identify any service provider.
                                                                1610 North Main Street ExtensionButler, PA 16001                       Check all that apply:
                 Butler, PA 16001                                                                                                         Electronically
                                                                                                                                          Paper

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Medical records
                  Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:
                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4

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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                            Desc Main
                                                                     Document     Page 24 of 35
 Debtor      Pinnacle Health Services, LLC                                                              Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was          Last balance
              Address                                           account number            instrument                   closed, sold,         before closing or
                                                                                                                       moved, or                      transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents         Does debtor
                                                                      access to it                                                            still have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents         Does debtor
                                                                      access to it                                                            still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                  Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5

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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                                 Desc Main
                                                                     Document     Page 25 of 35
 Debtor      Pinnacle Health Services, LLC                                                              Case number (if known)




       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Bonus Accounting
                    703 W Old Rte 422
                    Butler, PA 16001
       26a.2.       Zachary Rabold
                    520 Pearle Ave
                    PO Box

                    Mars, PA 16046

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Zachary Rabold
                    520 Pearl Avene
                    PO Box 635
                    Mars, PA 16046

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Zachary Rabold
                    520 Pearl Avenue
                    PO Box 635
                    Mars, PA 16046




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 6

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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                            Desc Main
                                                                     Document     Page 26 of 35
 Debtor      Pinnacle Health Services, LLC                                                              Case number (if known)



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.2.       Bonus Accounting
                    703 W Old Rte 422

                    Butler, PA 16001

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Zachary Rabold                                520 Pearl Avenue                                     Managing Member                       100
                                                     PO Box 635
                                                     Mars, PA 16046


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Zachary Rabold
       .    520 Pearl Avenue
                Mars, PA 16046                                       $24,965                                             2022               Distribution

                Relationship to debtor
                Managing Member


       30.2 Zachary Rabold
       .    520 Pearl Avenue
                Mars, PA 16046                                  $1,375                                                   2023               Distribution

                Relationship to debtor
                Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7

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            Case 23-22019-CMB                          Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                           Desc Main
                                                                     Document     Page 27 of 35
 Debtor      Pinnacle Health Services, LLC                                                              Case number (if known)




            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          September 22, 2023

 /s/    Zachary Rabold                                                   Zachary Rabold
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8

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            Case 23-22019-CMB                                  Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                                                Desc Main
                                                                             Document     Page 28 of 35
B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                             Western District of Pennsylvania
 In re       Pinnacle Health Services, LLC                                                                                                         Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept ....................................................................                  $                  3,500.00
             Prior to the filing of this statement I have received .......................................................                     $                  3,500.00
             Balance Due ...................................................................................................................   $                      0.00

              RETAINER
             For legal services, I have agreed to accept and received a retainer of...........................                                 $
             The undersigned shall bill against the retainer at an hourly rate of ...............................                              $
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):               Zachary Rabold

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
               reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
               522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.




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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36                Desc Main
                                                                     Document     Page 29 of 35
 In re       Pinnacle Health Services, LLC                                                           Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     September 22, 2023                                                         /s/ Renee Kuruce
     Date                                                                       Renee Kuruce 314691
                                                                                Signature of Attorney
                                                                                Robleto Kuruce PLLC
                                                                                6101 Penn Avenue Suite 201
                                                                                Pittsburgh, PA 15206
                                                                                (412) 925-8194 Fax:
                                                                                rmk@robletolaw.com
                                                                                Name of law firm




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           Case 23-22019-CMB                           Doc 1          Filed 09/22/23 Entered 09/22/23 16:34:36   Desc Main
                                                                     Document     Page 30 of 35
 In re       Pinnacle Health Services, LLC                                                       Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
Other Provisions:
                  Pursuant to the agreement between the Debtor and Robleto Kuruce, PLLC, and subject to the approval of the
                  Bankruptcy Court, the Debtor has agreed to compensate its attorneys in accordance with its customary hourly
                  rates for matters of this type. The hourly rates may be subject to periodic adjustment, typically only once annually
                  at the start of each calendar year.

                  Below is a list of professionals expected to provide services in this matter, followed by the year of admission to
                  practice, and applicable hourly rate:

                  Aurelius P. Robleto - 2005 - $320;
                  Renee M. Kuruce - 2012 - $280; and
                  Paralegals - n/a - $110.




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           Case 23-22019-CMB                          Doc 1           Filed 09/22/23 Entered 09/22/23 16:34:36            Desc Main
                                                                     Document     Page 31 of 35




                                                             United States Bankruptcy Court
                                                                     Western District of Pennsylvania
 In re      Pinnacle Health Services, LLC                                                                  Case No.
                                                                                    Debtor(s)              Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:        September 22, 2023                                         /s/ Zachary Rabold
                                                                          Zachary Rabold/Managing Member
                                                                         Signer/Title




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Case 23-22019-CMB   Doc 1    Filed 09/22/23 Entered 09/22/23 16:34:36   Desc Main
                            Document     Page 32 of 35


                            A& D Holding
                            2661 Clearview Rd
                            Allison Park, PA 15101


                            A& D Holdings
                            2661 Clearview Road
                            Allison Park, PA 15101


                            Airgas
                            325 Hammond Drive Suite #114
                            Atlanta, GA 30328


                            AK Freeport Road Partners
                            2585 Freeport Road
                            Pittsburgh, PA 15238


                            Allegheny Health Network Home Medical
                            PO Box 192
                            Ford City, PA 16226


                            Amy Rice-Kennedy
                            123 David Drive
                            Butler, PA 16001


                            Armstrong Cable
                            PO Box 37749
                            37749


                            Bravis Enterprises
                            c/o Bruce Davis 113 Windover Court
                            Canonsburg, PA 15317


                            Business Backer
                            10856 Reed Hartman Hwy, Suite 100
                            Cincinnati, OH 45242


                            Capital One
                            P.O. Box 30285
                            Salt Lake City, UT 84130


                            Charles Echnoz
                            316 First Ave. PO Box 955316
                            Kittanning, PA 16201


                            Comcast
                            PO BOX 3001
                            Southeastern, PA 19398


                            Duquesne Light
                            411 7th Avenue
                            Pittsburgh, PA 15219


                            Fundbox
                            300 Montgomery Street Suite #900
                            San Francisco, CA 94104
Case 23-22019-CMB   Doc 1    Filed 09/22/23 Entered 09/22/23 16:34:36   Desc Main
                            Document     Page 33 of 35


                            IMA Financial Group
                            Attn: Charles Echnoz
                            316 First Ave. PO Box 955
                            Kittanning, PA 16201


                            Jessica Rabold
                            520 Pearl Avenue
                            Mars, PA 16046


                            Jill McDeavitt
                            255 Thompsontown Rd
                            West Sunbury, PA 16061


                            Joe Sacripanti
                            28 Par Three Drive
                            Follansbee, WV 26037


                            Leo Volek Jr.
                            1203 6th Ave
                            Ford City, PA 16226


                            Linde (f/k/a Praxiar)
                            7000 High Grove Blvd.
                            Willowbrook, IL 60527


                            Lisa Panei-Werhane
                            423 Sunset Drive
                            Butler, PA 16001


                            Lou Negley’s Bottled Water Co.
                            106 Cork's Lane
                            Butler, PA 16001


                            McKnight Northland, LLC
                            310 Grant Street, Suite 2500
                            Pittsburgh, PA 15219


                            McKnight Northland, LLC
                            310 Grant Street Suite 2500
                            Pittsburgh, PA 15219


                            Melissa Bulfone
                            112 North Breezewood Drive
                            Butler , PA


                            Metz Lewis Brodman Must O'Keefe
                            Attn: John O'Keefe
                            535 Smithfield Street Suite 800
                            Pittsburgh, PA 15222


                            People's Gas
                            PO Box 644760
                            Pittsburgh, PA 15264
Case 23-22019-CMB   Doc 1    Filed 09/22/23 Entered 09/22/23 16:34:36   Desc Main
                            Document     Page 34 of 35


                            Peoples TWP LLC
                            PO Box 37745
                            Philadelphia, PA 19101


                            Rackspace U.S. Inc
                            PO Box 730759
                            Dallas, TX 75373


                            Sheila Priester
                            923 Winfield Rd.
                            Cabot, PA 16023


                            Susan McCrea
                            2 Valley Vista Lane
                            Butler, PA 16001


                            Swift Financial, LLC
                            3505 Silverside Road
                            Wilmington, DE 19810


                            The Blackwell Law Firm
                            Dennis Blackwell 223 Fourth Avenue
                            Pittsburgh, PA 15222


                            The Huntington National Bank
                            525 Water Street 3rd Floor
                            Saint Clair Shores, MI 48080


                            Tri-State Voice and Data
                            532 Home Run Rd
                            Amity, PA 15311


                            Waste Management
                            625 CHERRINGTON PKWY
                            Coraopolis, PA 15108


                            Waystar, Inc.
                            1311 Solutions Center
                            Chicago, IL 60677


                            West Penn Power
                            PO BOX 3615
                            Akron, OH 44309
            Case 23-22019-CMB                              Doc 1        Filed 09/22/23 Entered 09/22/23 16:34:36            Desc Main
                                                                       Document     Page 35 of 35



                                                                     United States Bankruptcy Court
                                                                       Western District of Pennsylvania
  In re      Pinnacle Health Services, LLC                                                                   Case No.
                                                                                     Debtor(s)               Chapter    7




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Pinnacle Health Services, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  September 22, 2023                                                      /s/ Renee Kuruce
 Date                                                                     Renee Kuruce 314691
                                                                          Signature of Attorney or Litigant
                                                                          Counsel for Pinnacle Health Services, LLC
                                                                          Robleto Kuruce PLLC
                                                                          6101 Penn Avenue Suite 201
                                                                          Pittsburgh, PA 15206
                                                                          (412) 925-8194 Fax:
                                                                          rmk@robletolaw.com




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